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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                   PITTSBURGH

 AMBROSIO ROUSE,                                   )    2:17-cv-1454-AJS
                                                   )
                Plaintiff,                         )
                                                   )
        vs.                                        )
                                                   )
THE CITY OF PITTSBURGH, A                          )
MUNICIPAL CORPORATION;                             )
                                                   )
ALLEGHENY COUNTY                                   )
PENNSYLVANIA, A MUNICIPAL                          )
CORPORATION; HAMPTON TOWNSHIP                      )
PENNSYLVANIA, A MUNICIPAL                          )
CORPORATION; DEVLIN'S POINTE                       )
APARTMENTS, A BUSINESS; DEVLIN'S                   )
POINTE APARTMENTS' MANAGMENT,                      )
                                                   )
JAMES A. WESTJR., IN HIS INDIVIDUAL                )
CAPACITY; JUDGE SUZANNE R.                         )
BLASCHAK, IN HER OFFICIAL AND                      )
INDIVIDUAL CAPACITIES ; JUDGE                      )
ROBERT J. COLVILLE, IN HIS OFFICIAL                )
AND INDIVIDUAL CAPACITIES ;                        )
                                                   )
DONALD GLOCK, IN HIS OFFICIAL
                                                   )
AND INDIVIDUAL CAPACITIES;                         )
HAMPTON TWP SERGEANT ROBERT                        )
KIRSOPP, IN HIS OFFICIAL AND                       )
INDIVIDUAL CAPACITIES; JOHN DOE,                   )
PAUL LAST NAME UNKNOWN, ED                         )
LAST NAME UNKNOWN, BOB LAST                        )
                                                   )
NAME UNKNOWN,                                      )
                                                   )
                Defendants,

                                  MEMORANDUM ORDER


       The present action was initiated in this court on November 7, 2017 by Plaintiff, proceeding

prose. The case was referred to United States Magistrate Judge Cynthia Reed Eddy for pretrial

proceedings in accordance with Magistrate Judges Act, 28 U.S .C. § 636(b)(l) and Local Rules of

Court 72.C and 72.D. Pending before the Magistrate Judge were four motions to dismiss Plaintiffs

complaint for failure to state a claim pursuant to Federal Rule of Civil Procedure 12(b)(6) filed by
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the Defendants. See ECF Nos. 9, 15, 22, 48. The Magistrate Judge's report and recommendation

filed April 27, 2018 recommended that the motions be granted. The parties were informed that in

accordance with the Magistrate Judges Act, 28 U.S.C. § 636(b)(l)(B) and (C), and Local Rule of

Court 72.D.2 that defendants had until May 11 , 2018 to file objections and Plaintiff, as an

unregistered ECF User, had until May 16, 2018 to file his objections.

       Defendants did not file any objections to the Report and Recommendation.            Plaintiff

objected to the Report and Recommendation on May 16, 2018, and his objections span fifty-six

(56) single-spaced pages' of disjointed legal conclusions and digressions that fail to specifically

address how any of the recommendations are "clearly erroneous" or "contrary to law." 28 U.S .C.

§ 636(b)( 1)(A). The Magistrate Judge in her Report and Recommendation meticulously navigated

the labyrinth that was Plaintiffs complaint by addressing every claim that Plaintiff asserted in his

complaint against each conceivable defendant. 2 Plaintiffs objections are wholly without merit.

       Accordingly, after a de nova review of the pleadings and documents in this case, together

with the report and recommendation, the following Order is entered:

       AND NOW, this 22nd day of May, 2018, it is HEREBY ORDERED as follows:

       The motions at ECF Nos . 9, 15, 22, 48 are granted as follows:

       Plaintiffs complaint is dismissed with prejudice against the following individuals and the

Clerk's Office is Ordered to terminate these Defendants from this case:

               1.     Devlin's Pointe Apartments' Management;




       In comparison, the length of the Report and Recommendation's discussion spanned
twenty-two double spaced pages.

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       Indeed , Plaintiff levied thirty (30) separate legal claims against fourteen (14) separate
Defendants. The Magistrate Judge's Report and Recommendation diligently and appropriately
addressed each claim.
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               2.     Judge Suzanne R. Blaschak;

               3.     Judge Robert J. Colville;

               4.     Constable Donald Glock;

               5.     Constable John Doe;

       IT IS FURTHER ORDERED that the following claims are dismissed with prejudice as to

all of the Defendants because the Court lacks subject matter jurisdiction to hear the claims:

               1. Count V-A;

               2. Count V-B ;

               3. Count VII;

               4 . Count VII-C ;

               5. Count XVI;

               6. Count VI-B;

               7. Count XV ;

       IT IS FURTHER ORDERED that the following claims are dismissed against all of the

Defendants as frivolous:

               1. Count V-C ;

               2. Count VI-A;

               3. Count VII-A;

               4 . Count VII-B ;

               5. Count VII-C;

               6. Count VII-D;

               7. Count VII-E;

               8. Count X-A ;



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                 9. Count X-B;

                 10. Count XI-A;

                 11. Count XVII;

         IT IS FURTHER ORDERED that the remainder of Plaintiffs claims against Hampton

Township, Sgt. Kirsopp, Allegheny County, the City of Pittsburgh, Leslie Lewis, Paul Last Name

Unknown, Ed Last Name Unknown, and Bob Last Name Unknown are dismissed;

         IT IS FURTHER ORDERED that Plaintiff show cause as to why this court should not

abstain under Younger v. Harris , 401 U.S. 37 (1971) as to Plaintiffs remaining claims against the

remaining Defendants, as his appeal to the Pennsylvania Supreme Court regarding his eviction

remains pending. Plaintiffs response to this show cause order is due by June 15, 2018 and is

limited to ten (10) pages, double-spaced, twelve (12) point font. Responses to the show cause

order are due June 29, 2018 and shall be limited to ten (10) pages double-spaced, twelve (12) point

font ;

         IT IS FURTHER ORDERED that the Report and Recommendation [ECF No. 54] is hereby

adopted in its entirety as the Opinion of the District Court.

                                                                By the Court,



                                                                United States Senior District Judge

cc:      The Honorable Cynthia Reed Eddy
         United States District Court
         Western District of Pennsylvania

         AMBROSIO ROUS E
         4270 Steubenville Pike
         #22
         Pittsburgh, PA 15205

         All counsel of record via electronic filing


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